                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                        ) Case No. 1:17-cr-117-3
                                                )
v.                                              ) District Judge Curtis L. Collier
                                                )
ALAN L. BROWN                                   ) Magistrate Judge Christopher H. Steger

                             REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), the undersigned United States Magistrate Judge conducted

a plea hearing in this case on November 1 and November 7, 2017. At the hearing, Defendant

entered a plea of guilty to Count One of the ten count Indictment. On the basis of the record made

at the hearing, the Court finds that Defendant is fully competent and capable of entering an

informed plea; the plea is made knowingly and with full understanding of each of the rights waived

by Defendant; it is made voluntarily and free from any force, threats, or promises; Defendant

understands the nature of the charges and penalties provided by law; and the plea has a sufficient

basis in fact. Acceptance of the plea, adjudication of guilt, acceptance of the Plea Agreement, and

imposition of sentence are specifically reserved for the District Court Judge.

       I therefore recommend that the Court: (1) grant Defendant’s motion to withdraw his not

guilty plea to Count One of the ten count Indictment; (2) accept Defendant’s guilty plea to Count

One of the ten count Indictment; (3) adjudicate Defendant guilty of conspiracy to distribute 100

grams or more of a mixture and substance containing a detectable amount of heroin, a Schedule I

controlled substance, in violation of Title 21 United States Code Section 841(a)(1), 841(b)(1)(B),

and 846; and (4) order that Defendant remain in custody until further order of this Court or

sentencing in this matter.

       The Defendant’s sentencing hearing is scheduled on March 7, 2018, at 2:00 p.m.

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ENTER.


                                               /s/Christopher H. Steger
                                               United States Magistrate Judge




                                      NOTICE TO PARTIES

        You have the right to de novo review by the district judge of the foregoing findings. Any
application for review must be in writing; must specify the portions of the findings or proceedings
objected to; and must be filed and served no later than fourteen (14) days after the plea hearing.
Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
the plea of guilty in this matter. See 28 U.S.C. § 636(b).




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